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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater           §              MDL NO. 2179
       Horizon” in the Gulf of Mexico, on            §
       April 20, 2010                                §              SECTION: J
                                                     §
This Document Relates to:                            §              JUDGE BARBIER
                                                     §
In Re: The Complaint and Petition of                 §              MAG. JUDGE SHUSHAN
       Triton Asset Leasing GmbH, et al.             §
       Civil Action No. 10-2771                      §

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to the Local Rules, Claimants respectfully request this Honorable Court grant

them the opportunity to present oral argument to this Court in further support of their Motion for

Order on Claimants’, 30 Degree Blue, LLC, et al., Objections to Jurisdiction and Venue and to

Enforcement of Monition, and Reservation of Rights; and Motion of Claimants’, 30 Degree

Blue, LLC, et al., to Extend Time for Filing Claims Pursuant to the Monition at the hearing of

said motions set for Wednesday, May 25, 2011, at 9:30 a.m., Central Time, or as soon thereafter

as counsel may be heard.

                                                         Respectfully Submitted:


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                                                         ATTORNEYS FOR CLAIMANTS


                                                         by:               /S/
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                                    CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Request for Oral Argument, has been served
on all counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance
with Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court
of the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 22nd day of April, 2011.


                                                                   /S/
                                                         Samuel T. Adams




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